
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-06-085-CV



PAUL H. POSNER, JR.	APPELLANT



V.



ROBERT V. HIGGINBOTHAM	APPELLEES

AND CYNTHIA A. HIGGINBOTHAM



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FROM THE 16
TH
 DISTRICT 
COURT OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellant Paul H. Posner, Jr.’s Motion For Voluntary Dismissal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the appellant, for which let execution issue.

PER CURIAM

PANEL D:	DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED: &nbsp;April 27, 2006

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




